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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 VICTORIA LOVETT, individually and on              :   CASE NO. 1:24-cv-00590
 behalf of all others similarly situated,          :
                                                   :   Judge Douglas R. Cole
                    Plaintiff,                     :
                                                   :
 v.                                                :
                                                   :
 CONTINUED.COM, LLC,                               :
                                                   :
                    Defendant.                     :
                                                   :

      DEFENDANT CONTINUED.COM, LLC’S MOTION TO DISMISS PLAINTIFF’S
                             COMPLAINT

        Defendant Continued.com, LLC (“Continued”) moves to dismiss Plaintiff’s Complaint

under Federal Rule of Procedure 12(b)(6) for failure to state a claim on which relief may be

granted. Plaintiff has not pleaded a viable claim under the Video Privacy Protection Act, 18 U.S.C.

§ 2710.

        A supporting memorandum accompanies this motion.

                                                  Respectfully submitted,

                                                  /s/ Beth A. Bryan
                                                  Beth A. Bryan (0082076)
                                                  TAFT STETTINIUS & HOLLISTER LLP
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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

VICTORIA LOVETT, individually and on        :   CASE NO. 1:24-cv-00590
behalf of all others similarly situated,    :
                                            :   Judge Douglas R. Cole
                  Plaintiff,                :
                                            :
v.                                          :
                                            :
CONTINUED.COM, LLC,                         :
                                            :
                  Defendant.                :
                                            :

       DEFENDANT CONTINUED.COM, LLC’s MEMORANDUM IN SUPPORT
            OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                             INTRODUCTION AND SUMMARY

       This Complaint attempts to extend the Video Privacy Protection Act, 18 U.S.C. § 2710, far

beyond its original scope. Congress enacted the VPPA in 1988 in response to a D.C. newspaper

obtaining and releasing a list of VHS tapes rented by Judge Robert Bork. While Judge Bork’s film

selections may not have been particularly salacious, the incident spurred Congress to action.

       The VPPA allows the “consumer” of a “video tape service provider” to bring a claim if the

provider “knowingly” disclosed the consumer’s “personally identifiable information.” 18 U.S.C.

§ 2710(b)(1). A “video tape service provider” is a “person engaged in the business, in or affecting

interstate or foreign commerce, of rental, sale, or delivery of prerecorded video cassette tapes or

similar audio visual materials.” Id. § 2710(a)(4). And “personally identifiable information” is that

“which identifies a person as having requested or obtained specific video materials or services

from a video tape service provider.” Id. § 2710(a)(3).

       Plaintiff’s Complaint seeks to cash in on the statutory damages allowed by the VPPA by

alleging, as have dozens of other plaintiffs across the country, that any website hosting video

content is a “video tape service provider” under the VPPA and that a common marketing tool

called the Meta Pixel violates the VPPA.

       But Plaintiff’s allegations are far removed from the VPPA’s original scope. Plaintiff did

not sue a video store that rented her VHS tapes or similar audio-visual materials–instead, she sued

the operator of a website hosting educational videos. Nor does Plaintiff claim that the defendant

disclosed a list identifying what videos she watched–only that it shared the fact she was a website

subscriber with Facebook. These allegations are leagues away from the privacy violations the

VPPA prohibited and do not state a claim for a violation of the VPPA.




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       Plaintiff’s Complaint fails to state a ripe or viable claim against Continued on which relief

may be granted and should be dismissed under Fed. R. Civ. P. 12(b)(6). Since Plaintiff’s claims

are fatally deficient, the Court should dismiss the Complaint.

                          MATERIAL FACTUAL BACKGROUND

       A.      The Parties.

       Plaintiff alleges that Continued “operates and maintains a family of Websites, where it sells

subscriptions to access prerecorded video content on various topics such as Speech Pathology,

Audiology, and Occupational Therapy.” (Doc. 1, Compl. ¶ 14, at PageID 5–6.) Generally, licensed

professionals use Continued’s websites to satisfy their continuing education requirements. (Doc.

1, Compl. ¶ 47, at PageID 17.) Plaintiff does not suggest that users can access the websites’ video

content other than online, such as by requesting DVDs.

       Plaintiff alleges that, around August 15, 2023, she registered and paid for a subscription

for “video products and services offered on” SpeechPathology.com, one of the websites operated

by Continued. (Doc. 1, Compl. ¶ 9, at PageID 4.) According to Plaintiff, she then “used her

subscription” on SpeechPathology.com “to request and obtain pre-recorded videos.” (Doc. 1,

Compl. ¶ 10, at PageID 5.) Plaintiff does not claim that she used SpeechPathology.com to satisfy

continuing education requirements—or even that she is a licensed speech pathologist.

       B.      The Meta Pixel.

       Plaintiff alleges that Continued uses the “Meta Pixel” on its websites. (Doc. 1, Compl. ¶¶

2, 41, at PageID 2, 15.) According to Plaintiff, the Meta Pixel is a “unique string of code that

companies can embed on their websites to monitor and track the actions taken by visitors to their

websites and to report them back to Meta.” (Doc. 1, Compl. ¶ 43, at PageID 15.) Meta, formerly

known as Facebook, developed and owns the Pixel. (Doc. 1, Compl. ¶ 43, at PageID 15.)



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       Plaintiff alleges that Meta can identify a website’s users, so long as they have a Facebook

account, since the Pixel sends Meta users’ Facebook ID number (“FID”). (Doc. 1, Compl. ¶ 44, at

PageID 16.) According to Plaintiff, a FID is “a unique sequence of numbers linked to a specific

Meta profile” that “identifies one and only one person.” (Doc. 1, Compl. ¶ 3, at PageID 3.) Plaintiff

alleges that Meta “monetizes” the information transmitted by the Meta Pixel “by selling advertisers

the ability to serve highly targeted advertisements.” (Doc. 1, Compl. ¶ 45, at PageID 16.)

       C.      The Alleged Disclosures.

       According to Plaintiff, Continued “intentionally programmed its websites . . . to include a

Meta Pixel.” (Doc. 1, Compl. ¶ 50, at PageID 18.) Continued allegedly knew “that [the Pixel]

would transmit the subscription purchased by its consumers and the purchasers’ unique identifiers

(including FIDs).” (Doc. 1, Compl. ¶ 68, at PageID 23–24.) Plaintiff also alleges that, throughout

this period, she “had a Meta account, a Meta profile, and an FID associated with such profile.”

(Doc. 1, Compl. ¶ 11, at PageID 5.) But Plaintiff does not specify whether her “Meta account”

publicly displayed her name or other personal information (such as an email address).

       Plaintiff alleges that, using the Meta Pixel, Continued “disclosed [her] Private Viewing

Information (including her FID and her purchase of a subscription to [SpeechPathology.com]) to

Meta.” (Doc. 1, Compl. ¶ 13, at PageID 5.) Plaintiff claims that she “never consented, agreed,

authorized, or otherwise permitted” Continued to make the alleged disclosures. (Doc. 1, Compl. ¶

12, at PageID 5.) Plaintiff does not allege that Continued disclosed the title, or other identifying

information, of any videos she watched on SpeechPathology.com.

       D.      The Proposed Class.

       Plaintiff seeks to represent a class consisting of all persons who, during the two years before

her complaint, bought a subscription to watch videos on a website owned by Continued while

keeping a Facebook account. (Doc. 1, Compl. ¶ 57, at PageID 20.)

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                                   SUMMARY OF ARGUMENT

        The Complaint should be dismissed under Rule 12(b)(6) for failure to state a claim upon

which relief can be granted. A complaint must be dismissed if it lacks “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (citation omitted). The Court should “construe the complaint in the light most

favorable to the plaintiff, accept its allegations as true, and draw all reasonable inferences in favor

of the plaintiff.” Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). But

the Court “need not accept as true legal conclusions or unwarranted factual inferences, and

conclusory allegations or legal conclusions masquerading as factual allegations will not suffice.”

Terry v. Tyson Farms, Inc., 604 F.3d 272, 276 (6th Cir. 2010) (internal quotation marks and

citation omitted).

        The VPPA prohibits a “video tape service provider” from “knowingly” disclosing to a third

party the “personally identifiable information” of any “consumer.” 18 U.S.C. § 2710(b). So to

bring a VPPA claim, a plaintiff must plausibly allege facts supporting three elements. First, that

the defendant is a “video tape service provider.” Second, that the plaintiff is a “consumer” of the

“video tape service provider.” Third, that the defendant “knowingly disclose[d]” the plaintiff’s

“personally identifiable information” to a third party. Plaintiff has failed to plausibly allege facts

making a VPPA claim.

        First, Plaintiff does not plausibly allege that Continued is a “video tape service provider.”

Plaintiff alleges that Continued operates continuing-education websites that host digital video

content. But the VPPA’s plain text and history make clear that the statute does not regulate videos

available exclusively online. Congress enacted the VPPA to protect the privacy of people who

rented movie tapes from video stores—not to regulate the whole world wide web. The VPPA’s



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text makes this clear, covering only “prerecorded video cassette tapes” and “similar audio visual

materials.” Taken together, these terms encompass only physical objects containing video media–

rather than ephemeral transmissions of video content, such as digital videos. Since Plaintiff failed

to allege that Continued rents, sells, or delivers any physical objects containing audio-visual

materials, she has not alleged that Continued is regulated by the VPPA. Allowing Plaintiff’s suit

to proceed would extend the VPPA’s reach from video tape rentals to the whole Internet. The

Court should refuse to expand the VPPA so radically beyond its original meaning.

       Second, Plaintiff has failed to plausibly allege that Continued disclosed her “personally

identifiable information” under the VPPA. Plaintiff alleges that Continued disclosed only two

items to Facebook: (1) her purchase of a website subscription and (2) her FID. But a VPPA plaintiff

must plausibly allege that the defendant’s unauthorized disclosure connected her personally to

specific videos she requested or obtained. The mere knowledge that Plaintiff subscribed to

SpeechPathology.com does not link Plaintiff to any video she watched–or even confirm that she

watched any videos at all.

       Finally, Plaintiff has failed to plausibly allege that Continued disclosed “personally

identifiable information” with the required mens rea: knowledge. Plaintiff claims that Continued

knew, when it installed the Meta Pixel on its websites, that the Pixel would transmit subscribers’

purchase of a subscription along with their FID. But to satisfy the VPPA’s mens rea requirement,

a plaintiff must show that a defendant knew the recipient could connect both user- and video-

identifying information to reconstruct “personally identifiable information.” Plaintiff did not

plausibly allege that Continued knew that Meta would pair her Facebook ID with her

SpeechPathology.com subscription to personally identify what specific videos she watched. So

she cannot satisfy the VPPA’s mens rea requirement.



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                                          ARGUMENT

I.      Plaintiff Fails to State a VPPA Claim Because Continued Is Not a “Video Tape
        Service Provider.”

        As a start, Plaintiff’s complaint fails to plausibly allege that Continued is a “video tape

service provider,” which the VPPA defines as “any person, engaged in the business . . . of rental,

sale, or delivery of prerecorded video cassette tapes or similar audio visual materials.” 18 U.S.C.

§ 2710(a)(4).

        Nearly forty years after the VPPA’s enactment, some courts have simply assumed that

websites hosting exclusively digital video content are “video tape service providers,” because they

provide consumers with “audio visual materials.” See, e.g., Stark v. Patreon, Inc., 635 F. Supp. 3d

841, 851 (N.D. Cal. 2022).1 But this broad reading ignores both the VPPA’s text and its history.

        This Court has an obligation to interpret the VPPA in line with its ordinary meaning when

enacted in 1988, rather than to match present-day expectations. See Niz-Chavez v. Garland, 593

U.S. 155, 160 (2021); see also Antonin Scalia & Bryan A. Garner, Reading Law: The

Interpretation of Legal Texts (2012) at 69 (“The ordinary-meaning rule is the most fundamental

semantic rule of interpretation.”). Reading the phrase “audio visual materials” in isolation betrays

the ordinary-meaning rule by ignoring the statutory context that informed its meaning in 1988. See

Helvering v. Gregory, 69 F.2d 809, 810–11 (2d Cir. 1934) (L. Hand, J.) (“[T]he meaning of a

sentence may be more than that of the separate words, as a melody is more than the notes, and no

degree of particularity can ever obviate recourse to the setting in which all appear, and which all

collectively create.”).



1
 Perhaps surprisingly, only a single court has expressly considered whether the VPPA may not
apply to exclusively-digital video content. See In re Hulu Priv. Litig., No. 11-3764, 2012 WL
3282960, at *6 (N.D. Cal. 2012) (finding that it does, “[g]iven Congress’s concern with protecting
consumers’ privacy in an evolving technological world.”).
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       So does Continued qualify as a “video tape service provider?” 18 U.S.C. § 2710(a)(4)

(“[A]ny person engaged in the business … of rental, sale, or delivery of prerecorded video cassette

tapes or similar audio visual materials.”) (emphases added). The first part is easy. Continued does

not rent, sell, or deliver “prerecorded video cassette tapes”—rectangular plastic cartridges that

contain an audio-visual recording. Continued instead hosts digital video content on websites

including SpeechPathology.com. (Doc. 1, Compl. ¶ 14, at PageID 5–6.)

       But does Continued provide consumers with “audio visual materials” that are “similar” to

“prerecorded video cassette tapes?” Dictionary definitions help clarify this phrase’s ordinary

meaning when Congress enacted the VPPA. See Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S.

560, 566–69 (2012). First, two things were “similar” when they had “the same substance or

structure throughout.” Similar, Oxford English Dictionary (2d ed. 1989). See also Similar, Black’s

Law Dictionary (5th ed. 1979) (“Nearly corresponding; resembling in many respects; somewhat

like; having a general likeness.”); id. (6th ed. 1990) (same). In turn, “materials” generally were

things composed of physical matter. Material, The Random House College Dictionary (Rev. ed.

1988) (“The substance or substances of which a thing is made or composed”; alternatively,

“Formed or consisting of matter; physical; corporeal”).

       Putting both definitions together reveals that only other physical objects containing audio-

visual recordings are “similar audio visual materials” to “prerecorded video cassette tapes.” Faced

with this language, an ordinary person in 1988 would have listed only items like film reels and

discs, physical objects performing the same function as “prerecorded video cassette tapes”:

allowing consumers to play a single, pre-recorded audiovisual recording.2 To be sure, in 1988,




2
  If the Court is willing to consider such evidence, the VPPA’s legislative history reinforces the
text’s plain meaning. The Senate Judiciary Committee’s report listed three physical objects
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online video streaming was still back in the future. But other non-physical audio-visual

transmissions did exist, from pre-recorded TV programming to movie theater screenings. And an

ordinary person would have concluded that the VPPA didn’t cover those either. See Osheske v.

Silver Cinemas Acquisition Co., 700 F. Supp. 3d 921, 925 (C.D. Cal. 2023) (finding that movie

theaters are not “video tape service providers”).

       The contextual canon of Noscitur a sociis (“a word is known by the company it keeps”)

reinforces this reading. Yates v. United States, 574 U.S. 528, 543 (2015). This canon counsels

interpreters “to avoid ascribing to one word a meaning so broad that it is inconsistent with its

accompanying words.” Id. (quoting Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995)); see also

Reading Law at 195 (“Associated words bear on one another’s meaning.”). Here, the canon

suggests that “similar audio visual materials” is “appropriately read to refer, not to any” video

content, including digital media, but “specifically to the subset” of “audio visual materials” that

consumers can physically handle. See Yates, 574 U.S. at 544.

       If the Court has any remaining doubts about the VPPA’s scope, it should resolve them in

Continued’s favor. On the one hand, the VPPA is codified as a criminal statute with civil penalties,3

so it must be construed strictly under the rule of lenity. Leocal v. Ashcroft, 543 U.S. 1, 11 n.8

(2004). On the other, the VPPA’s title—“Wrongful disclosure of video tape rental or sale records,”




containing audio-visual recordings as examples of “similar audio visual materials”: “laser discs,
open-reel movies, [and] CDI technology.” S. Rep. No. 100-599, at 12 (1988), as reprinted in 1988
U.S.C.C.A.N. 4342-1, 4342-10. The report also emphasized the VPPA’s focus on entities
distributing physical objects audio-visual recordings by describing the Act as prohibiting “video
stores from disclosing ‘personally identifiable information.’” Id. at 6, as reprinted in 1988
U.S.C.C.A.N. at 4342-7 (emphasis added).
3
 The VPPA is codified in Title 18 of the United States Code, which covers “Crimes and Criminal
Procedure.”


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18 U.S.C. § 2710—may be instructive. See Almendarez-Torres v. United States, 523 U.S. 224, 234

(1998) (“[T]he title of a statute and the heading of a section are tools available for the resolution

of a doubt about the meaning of the statute.”). The title’s exclusive focus on video tapes suggests

the Act should not be read as an “all-encompassing” data privacy regulation extending to

intangible transmissions of video content dissimilar from video cassette tapes. Yates, 574 U.S. at

540.

       Applying the VPPA to the modern-day Internet is “akin to placing a square peg into a round

hole.” Robinson v. Disney Online, 152 F. Supp. 3d 175, 184 (S.D.N.Y. 2015) (cleaned up).

Allowing claims like Plaintiff’s would extend “the law to cover factual circumstances far removed

from those that motivated its passage.” See In re Nickelodeon Consumer Privacy Litig., 827 F.3d

262, 284 (3d Cir. 2016). This Court should refuse Plaintiff’s invitation to do so, especially given

the plain meaning of the VPPA’s text.

       Since Continued does not distribute “similar audio visual materials” to “prerecorded video

cassette tapes,” Plaintiff has failed to plausibly allege that Continued is a “video tape service

provider” under the VPPA.4




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  Plaintiff’s failure to plausibly allege that Continued is a “video tape service provider” also dooms
her claim she is a “consumer,” which the VPPA defines as a “renter, purchaser, or subscriber of
goods or services from a video tape service provider.” 18 U.S.C. § 2710(a)(1) (emphasis added).
Since Continued is not a “video tape service provider,” Plaintiff cannot claim to have purchased
goods or services from one. Furthermore, “a reasonable reader would understand the definition of
‘consumer’ to apply to a renter, purchaser or subscriber of” prerecorded video cassettes or similar
“audio-visual goods or services, and not goods or services as a whole.” Carter v. Scripps Networks,
LLC, 670 F. Supp. 3d 90, 99 (S.D.N.Y. 2023). And, as explained above, the digital
SpeechPathology.com subscription that Plaintiff bought is neither a “prerecorded video cassette
tape” nor a “similar audio-visual material.”
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II.       Plaintiff Fails to State a VPPA Claim Because She Does Not Allege Continued
          Disclosed Any of Her “Personally Identifiable Information.”

          Plaintiff’s Complaint also fails because it does not plausibly allege that Continued

disclosed her “personally identifiable information” to Meta.

          In Plaintiff’s account, Continued disclosed her “personally identifiable information” by

sharing two items with Meta: (1) Plaintiff’s purchase of a SpeechPathology.com subscription and

(2) her FID. (Doc. 1, Compl. ¶¶ 3, 67 at PageID 3, 23.) But even combined, these two items do not

qualify as “personally identifiable information” under the VPPA.

          The VPPA defines “personally identifiable information” as “information which identifies

a person as having requested or obtained specific video materials or services from a video tape

service provider.” 18 U.S.C. § 2710(a)(3) (emphases added). This definition “suggests that the

information disclosed by a video tape service provider must, at the very least, identify a particular

person—not just an anonymous individual—and connect this particular person with his or her

viewing history.” Robinson, 152 F. Supp. 3d at 179. Although the Sixth Circuit has yet to weigh

in, most Circuits have interpreted “personally identifiable information” along these lines to

encompass only information that “readily permits an ordinary person to identify a particular

individual as having watched certain videos.” Eichenberger v. ESPN, Inc., 876 F.3d 979, 985 (9th

Cir. 2017) (quoting In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 274 (3d Cir. 2016)).

          A video-tape service provider who does not share either a consumer’s personal identity or

her specific video-tape choices, has not disclosed any “personally identifiable information.” For

instance, Blockbuster would disclose no one’s “personally identifiable information” by sharing a

list of most-popular rentals, without naming any individual cinephile. Nor would it do so by

disclosing that Robert Bork was an avid patron, without listing any specific tapes the eminent jurist

rented.


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       Turning to the Complaint, first, does it plausibly assert that Continued identified Plaintiff

personally? No. The Complaint does not allege that Continued shared Plaintiff’s name with Meta,

only that it shared her FID (which in turn linked to a Facebook account). (Doc. 1, Compl. ¶¶ 11,

13, 41, 49–52, at PageID 5, 15, 18–19.) The Complaint does not allege that this Facebook account

contained any of Plaintiff’s personal information, say her name or email address. (See Doc. 1,

Compl. ¶¶ 8, 11, at PageID 4–5.) So under the facts alleged, this account could very well be under

a pseudonym or be a “burner” account. So simply pleading that Plaintiff’s FID was disclosed does

not plausibly allege she was personally identified—absent an allegation that the FID linked to a

Facebook page containing Plaintiff’s personal information (such as her name or email address).

See, e.g., Ghanaat v. Numerade Labs, Inc., 689 F. Supp. 3d 714, 720 (N.D. Cal. 2023); Edwards

v. Learfield Commc’ns, 697 F. Supp. 3d 1297, 1307 (N.D. Fla. 2023). But see Feldman v. Star

Trib. Media Co., LLC, 659 F. Supp. 3d 1006, 1020–21 (D. Minn. 2023).

       In any event, Plaintiff’s claim that Continued disclosed her “personally identifiable

information” fails for another reason: she does not allege that Continued’s disclosure linked

Plaintiff to any “specific” videos that she “requested or obtained.” See 18 U.S.C. § 2710(a)(3).

Plaintiff alleges that Continued disclosed her purchase of a SpeechPathology.com subscription.

(Doc. 1, Compl. ¶¶ 3, 67 at PageID 3, 23.) But the mere disclosure that someone subscribes to a

website hosting videos does not reveal whether the subscriber watched any videos on the website,

much less any specific videos the subscriber watched. Knowing someone has a Netflix or Prime

Video subscription does not reveal whether they used their account to watch Barbie or

Oppenheimer, “Succession” or “Kitchen Nightmares.”

       Consider Martin v. Meredith Corp., 657 F. Supp. 3d 277 (S.D.N.Y. 2023), another case

involving the Meta Pixel. The plaintiff in Martin alleged that the Pixel, installed on the website



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People.com, shared the name of webpages he accessed with Meta, linked to his FID. Id. at 284.

The Martin court found that the plaintiff failed to allege that the defendant shared his “personally

identifiable information” with Meta, since the alleged transmission did not identify the plaintiff

“as having requested or obtained specific videos.” Id. at 285. The court reasoned that “disclosing

to a third party the title of the webpage does not reveal the title of a video on the page, let alone

whether the website visitor requested or obtained the video instead of merely reviewing an article

on the page.” Id. at 284–85. The same goes for Plaintiff’s allegations here: nothing in the

Complaint suggests that mere knowledge of her subscription would “reveal the title of a[ny] video”

on SpeechPathology.com, much less whether Plaintiff “requested or obtained [any] video.” Id. at

284.5

        Plaintiff’s allegation that Continued disclosed her SpeechPathology.com subscription did

not identify her “as having requested or obtained specific video materials or services.” 18 U.S.C.

§ 2710(a)(3). As a result, Plaintiff failed to plausibly allege that Continued disclosed her

“personally identifiable information.”




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  To be sure, one Circuit seems to have adopted a more expansive definition of “personally
identifiable information.” The First Circuit suggested that “personally identifiable information”
extends to “information reasonably and foreseeably likely to reveal which . . . videos [the
consumer] has obtained.” Yershov v. Gannett Satellite Info. Network, Inc., 820 F.3d 482, 486
(finding that an iPhone user’s GPS coordinates and device identifier were “personally identifiable
information”). This approach appears to expand the statutory definition of the term beyond its
plain meaning, which is limited to disclosing “specific video materials.” 18 U.S.C. § 2710(a)(3).
But in any event, Plaintiff’s Complaint fails even the First Circuit’s test, since it includes no
allegations suggesting that mere knowledge of her SpeechPathology.com subscription was
“reasonably and foreseeably likely to reveal” any specific videos she watched on the website.
Yershov, 820 F.3d at 486.
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III.      Plaintiff Fails to State a VPPA Claim Because She Has Not Adequately Alleged That
          Any Disclosure Was “Knowing.”

          Even if Plaintiff did adequately allege that Continued disclosed her “personally identifiable

 information,” she has not sufficiently alleged that Continued disclosed the information

 “knowingly.”

          As a criminal statute with civil penalties, the VPPA includes a mens rea requirement: a

 disclosure of “personally identifiable information” must be made “knowingly.” 18 U.S.C. §

 2710(b)(1). Plaintiff alleges that Continued “knew the Meta Pixel disclosed its subscribers’ Private

 Viewing Information to Meta.” (Doc. 1, Compl. ¶ 53, at PageID 19.) The Complaint elaborates

 later, claiming Continued intentionally installed the Meta Pixel on its websites “knowing that such

 code would transmit the subscription purchased by its consumers” along with their FID. (Doc. 1,

 Compl. ¶ 68, at PageID 23–24.)

          But these allegations cannot satisfy the VPPA’s mens rea requirement, even if the

 Complaint plausibly alleges a disclosure of “personally identifiable information.” Plaintiff alleges

 only that Continued knew that the Pixel would inform Meta of Facebook users who subscribed to

 its websites, identified not by name but by their FID. (Doc. 1, Compl. ¶ 68, at PageID 23–24.) But

 she does not assert that Meta actually personally identified her and connected her to videos she

 watched—much less that Continued knew that this privacy violation would occur. Under the facts

 alleged by Plaintiff, Continued could reasonably believe it was transmitting anonymized

 information that Meta would use only for targeted advertising to Facebook users like Plaintiff.

          Consider In re Hulu Priv. Litig., 86 F. Supp. 3d 1090 (N.D. Cal. 2015), yet another Meta

 pixel case. The plaintiffs claimed that Hulu knowingly disclosed their “personally identifiable

 information” by using the Pixel to transmit their FIDs and watch-page information. Id. at 1097–

 98. But the court noted that the plaintiffs had to show that Hulu’s knowledge covered “all three


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VPPA elements: the user’s identity; the identity of the videos; and the connection between them

(that is, the fact that the consumer has ‘requested or obtained’ the listed videos).” Id. at 1098.

Knowing disclosure of “user and video identification” (such as FIDs and watch-page addresses)

was not enough, absent knowledge of the connection between both. Id. The plaintiffs had to “prove

that Hulu knew that Facebook might combine those discrete things to reconstruct” their

“personally-identifiable information.” Id. at 1099.

       Plaintiff claims that Continued knowingly disclosed her FID and SpeechPathology.com

subscription. (Doc. 1, Compl. ¶ 68, at PageID 23–24.) But like the Hulu plaintiffs, Plaintiff does

not claim that Continued knew Facebook would connect these two “discrete things” to identify her

as having “requested or obtained” specific videos. See In re Hulu Priv. Litig., 86 F. Supp. 3d at

1098. So Plaintiff has failed to plausibly assert that Continued “knowingly” disclosed her

“personally identifiable information.”

                                          CONCLUSION

       For these reasons, this Court should dismiss Plaintiffs’ Complaint under Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim.

                                                         Respectfully submitted,

                                                         /s/ Beth A. Bryan
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above was filed electronically

on November 27, 2024. Notice of this filing will be sent to all parties through the Court’s electronic

filing system.



                                                      /s/ Beth A. Bryan




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